           Case 2:10-cr-00378-MJP          Document 30        Filed 12/09/10      Page 1 of 2




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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. MJ10-485
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   JOSEPH GARCIA,
12
                                   Defendant.
13

14   Offenses charged:
15          Count 1:              Conspiracy to Distribute Methamphetamine, in violation of 21
                                  U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846
16

17          Count 2:              Possession With Intent to Distribute Methamphetamine, in
                                  violation of 21 U.S.C., §§ 841(a)(1) and 841 (b)(1)(A) and 18
18                                U.S.C. § 2

19          Count 4:              Use of a Communication Facility, in violation of 21 U.S.C. §
                                  843(b) and 18 U.S.C. § 2
20
     Date of Detention Hearing: December 9, 2010
21
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
22
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
23

24          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
25
                    defendant is a flight risk and a danger to the community based on the nature of
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
         Case 2:10-cr-00378-MJP         Document 30        Filed 12/09/10      Page 2 of 2




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                 the pending charges. Application of the presumption is appropriate in this case.
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           2.    Defendant has stipulated to detention, but reserves the right to contest his
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                 continued detention if there is a change in circumstances.
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           3.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 9th day of December, 2010.


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23
                                                JAMES P. DONOHUE
24                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
